Case 1:21-cv-02900-CJN Document 125-1 Filed 12/04/23 Page 1 of 3




           EXHIBIT A
        Case 1:21-cv-02900-CJN Document 125-1 Filed 12/04/23 Page 2 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                       No. 1:21-cv-02900-CJN
       v.

HERRING NETWORKS, INC.,

                   Defendant.


           DECLARATION OF OLIVIA E. SULLIVAN IN SUPPORT OF
       PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S RULE 72
               OBJECTIONS TO MAGISTRATE JUDGE RULING

       I, Olivia E. Sullivan, make this declaration pursuant to 28 U.S.C. § 1746. I hereby declare

under penalty of perjury that the following is true and correct:

       1.      I am an attorney at Benesch, Friedlander, Coplan & Aronoff LLP and counsel for

Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation

(collectively, “Smartmatic”) in this action. As such, I am fully familiar with the facts and

circumstances of the matters stated in this declaration.

       2.      On May 5, 2023, the parties made a joint submission to the Court which outlined

eleven discovery disputes in writing.

       3.      OANN requested permission from Judge Nichols chambers to file five motions to

compel. On October 30, Judge Nichols chambers informed OANN that “these matters are pending

before Magistrate Judge Upadhyaya. These and similar requests and communications should be

directed to her chambers.” See Dkt. 113-2. On November 7, OANN contacted Judge Upadhyaya’s

chambers about its requested motions to compel.




                                                 1
       Case 1:21-cv-02900-CJN Document 125-1 Filed 12/04/23 Page 3 of 3




       4.     On November 17, 2023, OANN asked Smartmatic to provide deposition dates for

seven individuals. OANN specifically requested dates prior to December 8, 2023.




Date: December 4, 2023




                                           Olivia E. Sullivan, Illinois Bar No. 6330520
                                           Benesch, Friedlander, Coplan & Aronoff LLP
                                           71 South Wacker Drive, Suite 1600
                                           Chicago, Illinois 60606-4637
                                           312.212.4949


                                           Attorney for Plaintiffs Smartmatic USA Corp.,
                                           Smartmatic International Holding B.V., and SGO
                                           Corporation Limited




                                              2
